4:15-cr-03078-JMG-CRZ              Doc # 107   Filed: 02/12/16    Page 1 of 7 - Page ID # 541



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                   CASE NUMBER: 4:15CR3078-002
                      Plaintiff,
                                                   USM Number: 48156-424
       vs.

PATRICK WIGLEY                                     JOHN S. BERRY, JR.
                                                   DEFENDANT’S ATTORNEY
                      Defendant.


                             JUDGMENT IN A CRIMINAL CASE
                   (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Indictment on 11/18/2015.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following
offense(s):

      Title, Section & Nature of Offense           Date Offense Concluded        Count Number

18:2113(a) and (d) BANK ROBBERY                         October 17, 2014                 I

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of
this date pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                            Date of Imposition of Sentence:
                                                            February 12, 2016

                                                            Richard G. Kopf
                                                            Senior United States District Judge

                                                            February 12, 2016
4:15-cr-03078-JMG-CRZ          Doc # 107     Filed: 02/12/16    Page 2 of 7 - Page ID # 542
Defendant: PATRICK WIGLEY                                                             Page 2 of 7
Case Number: 4:15CR3078-002


                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 212 months.

The Court makes the following recommendations to the Bureau of Prisons:

    1. In the strongest possible terms that the defendant be enrolled in the Intensive Drug
       Treatment Program of the Bureau of Prisons.

    2. In the strongest possible terms that the defendant be accorded vocational and
       educational training while incarcerated.

    3. That the defendant be placed as close as possible to Chicago, Illinois, in order to be
       close to family.


The defendant is remanded to the custody of the United States Marshal.

                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ________________,
20___.

                                                          _____________________________
                                                                Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ___ day of _____________,
20____ to ______________________________________, with a certified copy of this
judgment.

                                                          _____________________________
                                                                UNITED STATES WARDEN

                                                          BY: _________________________

NOTE: The following certificate must also be completed if the defendant has not signed
the Acknowledgment of Receipt, above.

                                       CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of ______________, 20____.

                                                          _____________________________
                                                                UNITED STATES WARDEN

                                                          BY: __________________________
4:15-cr-03078-JMG-CRZ           Doc # 107      Filed: 02/12/16     Page 3 of 7 - Page ID # 543
Defendant: PATRICK WIGLEY                                                                 Page 3 of 7
Case Number: 4:15CR3078-002


                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5
years.

The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as
well as with any additional conditions on the attached page.

                         STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by
        the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family
        responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer;
4:15-cr-03078-JMG-CRZ             Doc # 107     Filed: 02/12/16     Page 4 of 7 - Page ID # 544
Defendant: PATRICK WIGLEY                                                                  Page 4 of 7
Case Number: 4:15CR3078-002


12.     The defendant shall not enter into any agreement to act as an informer or a special
        agent of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that
        may be occasioned by the defendant’s criminal record or personal history or
        characteristics and shall permit the probation officer to make such notifications and to
        confirm the defendant’s compliance with such notification requirement.

                              SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall cooperate in the collection of DNA as directed by the probation
        officer, pursuant to 28 C.F.R. § 28.12, the DNA Fingerprint Act of 2005, and the Adam
        Walsh Child Protection and Safety Act of 2006, if such sample was not collected during
        imprisonment.

2.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of
        merely refraining from excessive use of alcohol, the defendant shall not purchase or
        possess, use, distribute, or administer any alcohol, just the same as any other narcotic
        or controlled substance.

3.      The defendant shall submit his or her person, residence, office, or vehicle to a search
        conducted by a United States Probation Officer at any time; failure to submit to a search
        may be grounds for revocation; the defendant shall warn any other residents that the
        premises may be subject to searches pursuant to this condition.

4.      The defendant shall attend, pay for and successfully complete any diagnostic
        evaluations, treatment or counseling programs, or approved support groups (e.g.,
        AA/NA) for alcohol and/or controlled substance abuse, as directed by the probation
        officer.

5.      It is recommended that the defendant complete his GED while incarcerated or during his
        term of supervision, or in the alternative, complete an approved vocational rehabilitation
        program as directed by the probation officer.

6.      If the defendant is unable to secure lawful employment, the defendant may be required
        to perform up to 20 hours of community service per week until employed. The defendant
        may also participate in training, counseling, daily job search, or other employment-
        related activities, as directed by the probation officer.

7.      The defendant shall not associate with any member, prospect, or associate member of
        any criminal street gang.

8.      The defendant shall pay restitution in the amount of 122,891.15, to be paid jointly and
        severally with co-defendants Clifton Hudson and Thomas Dunlap, Case No.
        4:15CR3078, to the Clerk of the U.S. District Court, 111 S. 18th Plaza, Suite 1152,
        Omaha, Nebraska 68102-1322. Restitution shall be paid in accordance with the
        schedule set forth in the "Schedule of Payments" set forth in this judgment. The
        defendant shall be responsible for providing proof of payment to the probation officer as
        directed.

         Victim's Name                        Amount
         CUMIS Insurance Society, Inc.        $122,891.15
4:15-cr-03078-JMG-CRZ          Doc # 107      Filed: 02/12/16     Page 5 of 7 - Page ID # 545
Defendant: PATRICK WIGLEY                                                                Page 5 of 7
Case Number: 4:15CR3078-002




        Without limiting the foregoing, and following release from prison, the defendant shall
        make payments to satisfy the criminal monetary penalty in the following manner: (a)
        monthly installments of $100 or 3% of the defendant's gross income, whichever is
        greater; (b) the first payment shall commence 30 days following the defendant's
        discharge from incarceration, and continue until the criminal monetary penalty is paid in
        full; and (c) the defendant shall be responsible for providing proof of payment to the
        probation officer as directed.

9.      The defendant shall provide the probation officer with access to any requested financial
        information.

10.     The defendant shall attend, successfully complete, and pay for an approved cognitive-
        behavioral based program as directed by the probation officer.

11.     Pursuant to 18 U.S.C. § 3583(d), the defendant shall submit to a drug test within fifteen
        (15) days of release on supervised release and at least two (2) periodic drug tests
        thereafter to determine whether the defendant is using a controlled substance. Further,
        the defendant shall submit to such testing as requested by any probation officer to detect
        the presence of alcohol or controlled substances in the defendant's body fluids and to
        determine whether the defendant has used any of those substances. Based on the
        defendant's ability to pay, the defendant shall pay for the collection of urine samples to
        be tested for the presence of alcohol and/or controlled substances in an amount to be
        determined by the probation officer.

12.     The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        District of Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall
        North, 530 U.S. Courthouse, Lincoln, Nebraska, (402)437-1920, within seventy-two (72)
        hours of release being placed on probation or release from confinement and, thereafter,
        as directed by the probation officer.
4:15-cr-03078-JMG-CRZ           Doc # 107     Filed: 02/12/16     Page 6 of 7 - Page ID # 546
Defendant: PATRICK WIGLEY                                                                 Page 6 of 7
Case Number: 4:15CR3078-002


                              CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                      Total Fine                    Total Restitution

              $100                                                          $122,891.15

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.


                                              FINE
No fine imposed.
                                        RESTITUTION

Restitution in the amount of $122,891.15 hereby ordered to be paid jointly and severally with co-
defendants Clifton Hudson and Thomas Dunlap. The defendant shall make restitution to the
following payees in the amounts listed below.

                                      Total                                   Priority Order or
                                    Amount of     Amount of Restitution        Percentage of
          Name of Payee               Loss             Ordered                    Payment

CUMIS Insurance Society, Inc.      $122,891.15           $122,891.15
Claim No.: B0984186
PO Box 1221
Madison, WI 53705-1221
Totals                             $122,891.15           $122,891.15

**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and
113A of Title 18,United States Code, for offenses committed on or after September 13, 1994 but
before April 23, 1996.

The Court gives notice that this case involves other defendants who may be held jointly and
severally liable for payment of all or part of the restitution ordered herein and may order such
payment in the future.
                                 SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
4:15-cr-03078-JMG-CRZ           Doc # 107      Filed: 02/12/16   Page 7 of 7 - Page ID # 547
Defendant: PATRICK WIGLEY                                                              Page 7 of 7
Case Number: 4:15CR3078-002


Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following the defendant’s discharge from incarceration, and
continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S.
18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.

Restitution is hereby ordered jointly and severally with: co-defendants Clifton Hudson and
Thomas Dunlap, Case No. 4:15CR3078.

CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
